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                     EXHIBIT A
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IX. CMS-367

      CMS-367 attached hereto is part of this agreement.

X. Signatures

      FOR THE SECRETARY OF HEALTH AND HUMAN SERVICES


By: _______________________________Date: 09/06/2018
             (signature)

      Acting Director
      Disabled and Elderly Health Programs Group
      Center for Medicaid and CHIP Services
      Centers for Medicare & Medicaid Services
      U.S. Department of Health and Human Services

ACCEPTED FOR THE MANUFACTURER

      I certify that I have made no alterations, amendments or other changes to this rebate agreement.

By: _________________________________________              ________________________
                    (signature)                               (please print name)
Title: _______________________________________
Name of Manufacturer: _________________________
Manufacturer Address __________________________
____________________________________________

                            00006
Manufacturer Labeler Code: ____________________
Date: ______________________________________




                                                                                                         9
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MEDICAID DRUG REBATE AGREEMENT
                     ENCLOSURE B (PAGE 1 OF 2)
                    SUPPLEMENTAL DATA SHEET

LABELER CODE (as assigned by FDA)                                 00006
MERCK & CO., INC.
LABELER NAME (Corporate name associated with labeler code)


LEGAL CONTACT – Person to contact for legal issues concerning the rebate agreement

NAME OF CONTACT
Kathryn Glaser                                           267 305-2815
                                                       AREA            PHONE NUMBER                          EXTENSION
EMAIL ADDRESS: kathryn.glaser@merck.com


Merck & Co., Inc.
NAME OF CORPORATION
UG 4A - 38
351 N SUMNEYTOWN PIKE
STREET ADDRESS

 NORTH WALES                                                              PA                                        19454
CITY                                                                        STATE                                  ZIP CODE


INVOICE CONTACT – Person responsible for processing invoice utilization data

MARK SERIS
NAME OF CONTACT
                                                         215 652-1269
                                                       AREA            PHONE NUMBER                          EXTENSION
EMAIL ADDRESS:                  mark.seris@merck.com


Merck & Co., Inc.
NAME OF CORPORATION
WP39 - 407
770 SUMNEYTOWN PIKE


STREET ADDRESS

WEST POINT                                                                  PA                                       19486
CITY                                                                        STATE                                  ZIP CODE
Note:      This sheet is to be returned with the signed rebate agreement. If more than one labeler code, attach one sheet for each code.


CMS-367d (Exp. 03/31/2019), OMB No. 0938-0578 According to the Paperwork Reduction Act of 1995, no persons are required to
respond to a collection of information unless it displays a valid OMB control number. The valid OMB control number for this
information collection is 0938-0578. The time required to complete this information collection is estimated to average 1 hour per
response, including the time to review instructions, gather the data needed, and complete and review the information collection. If you
have comments concerning the accuracy of the time estimate or suggestions for improving this form, please write to: CMS, 7500
Security Boulevard, Attn: PRA Reports Clearance Officer, Baltimore, Maryland 21244-1850.
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MEDICAID DRUG REBATE AGREEMENT
                     ENCLOSURE B (PAGE 2 OF 2)
                    SUPPLEMENTAL DATA SHEET

LABELER CODE (as assigned by FDA)                             00006
MERCK & CO., INC.
LABELER NAME (Corporate name associated with labeler code)


TECHNICAL CONTACT – Person responsible for sending and receiving data

 Michael Quinn
NAME OF CONTACT
                                                        215-652-5665
                                                        AREA           PHONE NUMBER                           EXTENSION
FAX #         215-652-5632



EMAIL ADDRESS:                  michael.quinn@merck.com


Merck & Co., Inc.
NAME OF CORPORATION
WP39 - 407
770 SUMNEYTOWN PIKE


STREET ADDRESS

WEST POINT                                                                   PA                                      19486
CITY                                                                         STATE                                  ZIP CODE


Note:      This sheet is to be returned with the signed rebate agreement. If more than one labeler code, attach one sheet for each code.

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